        Case 1:17-cv-00548-TSC Document 50-2 Filed 03/03/20 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 KNIGHT FIRST AMENDMENT
 INSTITUTE AT COLUMBIA
 UNIVERSITY,

               Plaintiff,
                                                      Oral Argument Requested
        v.
                                                      Civil Action No. 1:17-cv-00548-TSC

 DEPARTMENT OF HOMELAND
 SECURITY, et al.,

               Defendants.



                                  [PROPOSED] ORDER

       Upon consideration of Defendant’s motion for summary judgment, Plaintiff’s opposition

and cross-motion, the parties’ respective replies, and the entire record herein, it is hereby

ORDERED that:

       1. Defendant’s motion for summary judgment is denied; and

       2. Plaintiff’s cross-motion is granted

       IT IS SO ORDERED.



DATED: __________________                                ______________________________
                                                         Hon. Tonya S. Chutkan
                                                         United States District Judge
